` Case 1:05-cv-OlO48-.]DT-STA Document 11 Filed 08/09/05 Page 1 0f4 Page|D 15

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE

 

EASTERN DIVISION
FELISHA FISHER, et al. )
Plaintiffs, §
v. § Case No. 1-05-1048-T An
UNUM LIFE INSURANCE COMPANY §
OF AMERICA, et al. )
Defendants. l

ORDER OF COMPROMISE AND DISMISSAL
The parties, by and through counsel, having announced to the court that all claims in this
action have been compromised and settled, it is ORDERED that this action is DISMISSED, with
prejudice, as to all claims and all parties, With each party to bear its own costs and attorney’s

fees.

ENTER:

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Unite# tates District Judge

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Thls document entered on the docket a t|n compliance
with Flule 58 and.'or_79 (a) FRCP on

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APPROVED FOR ENTRY:

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CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and exact copy of the foregoing pleading has
been served upon the following counsel for parties in interest herein by delivering same to the

offices of said counsel, or by mailing same to the offices of said counsel by United States Mail
with sufficient postage thereon to carry the same to its destination

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Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 1:05-CV-01048 was distributed by faX, mail, or direct printing on
August 10, 2005 to the parties listed.

 

 

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Honorable .1 ames Todd
US DISTRICT COURT

